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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                           CASE NO. 16-CV-62028-LENARD/GOODMAN


  CLINGMAN & HANGER MANAGEMENT
  ASSOCIATES, LLC as Trustee

                          Plaintiff,

  v.

  DAVID KNOBEL, JEFFREY PIERNE, NEAL
  YAWN, DEAN BARTNESS, SIANA
  STEWART, and CID YOUSEFI

                          Defendants.

                     DEFENDANTS’ NOTICE PURSUANT TO DKT. 134

         Pursuant to this Court’s Endorsed Order dated October 31, 2017 (Dkt. 134), Defendants

  submit the following:

         1.      Under Federal Rule of Civil Procedure 45, there is no obligation upon a

  subpoenaing party to produce automatically to another party any documents that were obtained

  pursuant to the subpoena from a third party.

         2.      Despite the lack of any obligation under FRCP 45, Plaintiff has requested

  Defendants to produce all documents that Defendants have obtained in this case via subpoena.

         3.      Defendants asked Plaintiff to provide its authority for such a request, and Plaintiff

  could not cite to the text of FRCP 45 or any case law. Instead, Plaintiff primarily relied upon a

  non-binding advisory committee note. See Horenkamp v. Van Winkle And Co., 402 F.3d 1129,

  1132 (11th Cir. 2005) (holding that advisory committee notes are not binding, though they are

  accorded significant weight).




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         4.      Moreover, the advisory committee comment cited by Plaintiff provides that a

  court may order access to materials produced pursuant to a subpoena, which necessarily means

  that a party is not under a self-executing duty to produce such documents absent court order. See

  F.R.C.P. 45, Advisory Committee Note, 2013 Amendments (“The rule does not limit the court’s

  authority to order notice of receipt of produced materials or access to them.”).

         5.      Plaintiff also cited to this Court’s order that parties shall be under a continuing

  obligation to supplement discovery responses within ten (10) days of receipt or other notice of

  new or revised information (Dkt. 34-2), but this provision appears to require supplementation of

  first-party discovery responses, as opposed to having any bearing on third party discovery.

         6.      Nonetheless, in light of the Court’s Order dated October 31, 2017 (Dkt. 133)

  requiring Defendants to share with Plaintiff any documents that Defendants receive from third-

  party TJS Deemer Dana LLP (TJS), Defendants will also make available to Plaintiff documents

  received from other third parties.



                                                                          Respectfully submitted,


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                                                                                     Counsel for David Knobel, Jeffrey
                                                                                     Pierne, Neal Yawn, Dean Bartness,
                                                                                     Siana Stewart and Cid Yousefi



                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 2, 2017, I electronically filed the foregoing with the

  Clerk of Court, using CM/ECF. I also certify that the foregoing document was served on all

  counsel of record via transmission of Notice of Electronic filing generated by CM/ECF.



                                                                                     /s/ Kenneth J. Duvall
                                                                                     Kenneth Duvall




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